4:09-cr-03031-RGK-CRZ      Doc # 189   Filed: 03/25/11   Page 1 of 1 - Page ID # 1343




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                 4:09CR3031
                                        )
             v.                         )
                                        )       MEMORANDUM AND ORDER
MICHAEL KONING,                         )
                                        )
                   Defendant.           )

      IT IS ORDERED that defendant Michael Koning’s oral motion, (filing no. 188), is
granted, and his pending motions, (filing nos. 27, 139, 140, and 147), are deemed
withdrawn.

      DATED this 25th day of March, 2011.

                                       BY THE COURT:

                                       s/ Cheryl R. Zwart
                                       United States Magistrate Judge
